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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,         )
                                  )
                   Plaintiff,     )
                                  )
        v.                        )                 4:06CR3120
                                  )
JOSE ANTONIO MEDINA-GARCIA,       )
a/k/a STEVEN H. ARREDONDO, a/k/a  )
JOSE ARMANDO MEDINA-GARCIA,       )
a/k/a JOSE M. MEDINA, a/k/a JOSE  )
MEDINA, a/k/a JOSE A. MEDINA,     )
a/k/a JOSE ARMANDO MEDINA, a/k/a )
MARK ANTHONY GARCIA, a/k/a        )
MARK A. GARCIA, a/k/a MARK        )
ANTHONY ALVAREZ, a/k/a MARK A. )
ALVAREZ, a/k/a JOSE MEDINA-       )
GARCIA, a/k/a JOSE GOMEZ-CISNEROS )
                                  )
                       Defendant. )

                                 ORDER FOR DISMISSAL

     Leave of court is granted for the filing of the dismissal in this case.

     October 20, 2006.                              BY THE COURT:

                                                    s/ RICHARD G. KOPF
                                                    UNITED STATES DISTRICT JUDGE
